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                   EXHIBIT C
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                           IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF UTAH


  Kristin Pilkington, individually and on behalf of        [PROPOSED] ORDER GRANTING
  all others similarly situated,                           DEFENDANT’S MOTION TO DISMISS
                                                           UNDER FED. R. CIV. PRO. 12(B)(1), OR TO
                            Plaintiff,                     TRANSFER PURSUANT TO 28 U.S.C.
  vs.                                                      §1404(a)

  Gorsuch, LTD.,                                           Case No. 2:24-cv-00434-DBP
                            Defendant.
                                                           Judge Robert J. Shelby
                                                           Magistrate Judge Dustin B. Pead


         Defendant Gorsuch, Ltd.’s (“Defendant”) Motion, brief in support, Plaintiff’s response and brief,

 and Defendant’s reply are before the Court. Defendant moves pursuant to Federal Rules of Civil Procedure

 12(b)(1) to dismiss Plaintiff’s Class Action Complaint for lack of subject matter jurisdiction, or alternatively,

 pursuant to 28 U.S.C. §1404(a), to transfer this matter to the District Court of Colorado. The Court has

 considered all arguments of the parties, and the Court hereby GRANTS Defendant’s Motion.
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       IT IS SO ORDERED.


       Dated: ____________________
                                         Hon. Robert J. Shelby
                                         U.S. District Judge
